    Case 2:22-cv-00453         Document 1        Filed 01/24/22         Page 1 of 2 Page ID #:1

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                                       CASE NUMBER:


                                                          2:22−cv−00453
ADAM GORDON
                                        PLAINTIFF(S)

       v.


                                     DEFENDANT(S).
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                                                                ATTORNEY CASE OPENING




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